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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



MYLAN PHARMACEUTICALS INC.
and MATRIX LABORATORIES LTD.,

       Plaintiffs,
              v.
UNITED STATES FOOD AND DRUG
ADMINISTRATION,                                       Civil Action No. 11-566 (JEB)

       Defendant,

              and

RANBAXY LABORATORIES LIMITED,

       Intervenor-Defendant.




                                           ORDER

       Upon consideration of Plaintiffs’ Motion for Preliminary Injunction, the FDA’s Motion

to Dismiss, Ranbaxy’s Motion to Dismiss, the parties’ memoranda, the applicable law, the entire

record herein, and for the reasons stated in the accompanying Memorandum Opinion issued on

this date, the Court hereby ORDERS:

       1) Defendants’ Motions to Dismiss are GRANTED;

       2) Plaintiffs’ Motion for Preliminary Injunction is DENIED; and

       3) Judgment is ENTERED in favor of Defendants.

SO ORDERED.

                                                   /s/ James E. Boasberg
                                                   JAMES E. BOASBERG
                                                   United States District Judge
Date: May 2, 2011
